      Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 1 of 21




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


MICHAEL CLYNES, Individually and On        Case No.
Behalf of All Others Similarly Situated,

                           Plaintiff,      CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
             v.                            SECURITIES LAWS

HEBRON TECHNOLOGY CO., LTD.,
ANYUAN SUN, and CHANGJUAN                  JURY TRIAL DEMANDED
LIANG,

                           Defendants.
            Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 2 of 21




       Plaintiff Michael Clynes (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Hebron

Technology Co., Ltd. (“Hebron” or the “Company”) with the United States (“U.S.”) Securities and

Exchange Commission (“SEC”); (b) review and analysis of press releases and media reports issued

by and disseminated by Hebron; and (c) review of other publicly available information concerning

Hebron.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Hebron securities between April 24, 2020 and June 3, 2020, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.       Hebron conducts equipment and engineering service operations focusing on the

research, development and manufacture of fluid equipment including valves, pipe fittings and

others. Since July 2019, the Company has also provided financial advisory service operations.

       3.       On June 3, 2020, Grizzly Research presented a report alleging that Hebron is an

“insider enrichment scheme without economic basis,” citing questionable transactions including

an undisclosed related party transaction for nearly $26 million.

       4.       On this news, the Company’s share price fell $8.26, or nearly 37%, to close at

$14.29 per share on June 3, 2020, on unusually heavy trading volume. The stock continued to

decline the next trading session by $2.51, or nearly 18%, to close at $11.78 per share on June 4,

2020, on unusually heavy trading volume.

       5.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that many of

                                    CLASS ACTION COMPLAINT
                                               1
             Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 3 of 21




Hebron’s acquisitions, including Beijing Hengpu and Nami Holding (Cayman) Co., Ltd., involved

undisclosed related parties; (2) that the Company’s disclosure controls regarding related party

transactions was ineffective; and (3) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects, were materially misleading

and/or lacked a reasonable basis.

        6.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                   JURISDICTION AND VENUE

        7.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        8.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.       Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        10.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        11.      Plaintiff Michael Clynes, as set forth in the accompanying certification,

incorporated by reference herein, purchased Hebron securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

                                      CLASS ACTION COMPLAINT
                                                 2
          Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 4 of 21




statements and/or material omissions alleged herein.

       12.     Defendant Hebron is incorporated under the laws of the British Virgin Islands with

its principal executive offices located in Wenzhou City, Zhejiang Province, People’s Republic of

China. Hebron’s Class A common stock trades on the NASDAQ exchange under the symbol

“HEBT.”

       13.     Defendant Anyuan Sun (“Sun”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       14.     Defendant Changjuan Liang (“Liang”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       15.     Defendants Sun and Liang (collectively the “Individual Defendants”), because of

their positions with the Company, possessed the power and authority to control the contents of the

Company’s reports to the SEC, press releases and presentations to securities analysts, money and

portfolio managers and institutional investors, i.e., the market. The Individual Defendants were

provided with copies of the Company’s reports and press releases alleged herein to be misleading

prior to, or shortly after, their issuance and had the ability and opportunity to prevent their issuance

or cause them to be corrected. Because of their positions and access to material non-public

information available to them, the Individual Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and that the positive

representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                                 SUBSTANTIVE ALLEGATIONS

                                            Background

       16.     Hebron conducts equipment and engineering service operations focusing on the

research, development and manufacture of fluid equipment including valves, pipe fittings and

others. Since July 2019, the Company has also provided financial advisory service operations.




                                     CLASS ACTION COMPLAINT
                                                3
          Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 5 of 21




                                 Materially False and Misleading
                            Statements Issued During the Class Period

        17.     The Class Period begins on April 24, 2020. On that day, Hebron filed its annual

report on Form 20-F with the SEC for the period ended December 31, 2019. Therein, the Company

stated, “Except as set forth in our discussion below in ‘Related Party Transactions,’ our directors

and officers have not been involved in any transactions with us or any of our affiliates or associates

which are required to be disclosed pursuant to the rules and regulations of the SEC.” Specifically,

as to related party transactions, the report stated, in relevant part:

        There are no other related party transactions for the year ended December 31, 2019,
        2018 and 2017, except the transactions mentioned below.

        Starting on July 12, 2019, we rented office from NiSun Shanghai and incurred
        $63,749 rent expense for the year ended December 31, 2019. The annual rent from
        NiSun Shanghai is approximately $113,200.

        As of December 31, 2019, we had due to related party balance of $7,345,399 due
        to Mr. Bodang Liu, our largest shareholder, of which, $7 million was related to
        purchase price payable for acquisition of NiSun BVI. The due to related party
        balance was non-interest bearing and due on demand. There was nil balance due to
        related party as of December 31, 2018 and 2017.

        From time to time, our chief executive office and his immediate family members
        jointly provided guarantees or personal assets as collateral to our loan agreements,
        trade financing agreements, letters of guarantee, funding agreements and other
        credit agreements with commercial banks. For the years ended December 31, 2019,
        2018 and 2017, the outstanding bank loan balance amounted to $861,846,
        $1,698,058 and $872,852, respectively, were guaranteed by the Group’s chief
        executive officer and his immediate family members.

        18.     Regarding the Company’s disclosure controls, the report stated:

        As of December 31, 2019, the end of the fiscal year covered by this report, our
        management, under the supervision and with the participation of our Chief
        Executive Officer and Chief Financial Officer, performed an evaluation of the
        effectiveness of our disclosure controls and procedures. Based on the evaluation,
        our Chief Executive Officer and Chief Financial Officer concluded that, as of
        December 31, 2019, our disclosure controls and procedures were ineffective. Such
        conclusion is due to the presence of material weakness in internal control over
        financial reporting as described below.

                                                 ***

                                     CLASS ACTION COMPLAINT
                                                4
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 6 of 21




       Based on the assessment, management determined that, as of December 31, 2019,
       we did not maintain effective internal control over financial reporting due to the
       existence of the following material weaknesses:

                The Company does not have adequate internal accounting personnel with
                 sufficient knowledge of the US GAAP and SEC reporting standards, which
                 could lead to material misstatements being undetected in a timely manner.

                                               ***

       The following changes in our internal controls over financial reporting occurred
       during the twelve months ended December 31, 2019 and have materially affected,
       or are reasonably likely to materially affect, our internal control over financial
       reporting:

                We have begun to maintain written policies and procedures, and prepare
                 Board minutes and resolutions for significant transactions on a timely
                 basis. We believe these efforts will improve our internal controls.

       19.       On May 22, 2020, the Company issued a press release to announce that it would

acquire Nami Holding (Cayman) Co., Ltd. The press release stated, in relevant part:

       Hebron Technology Co., Ltd. (“Hebron” or the “Company”) (Nasdaq: HEBT), a
       technology oriented enterprise group conducting business in the pharmaceutical
       equipment and engineering industry segment and financial services industry
       segment, today announced that it has entered into a definitive share purchase
       agreement (the “Agreement”) with Nami Holding (Cayman) Co., Ltd. (“Nami”)
       and Nami Holding (BVI) Co., Ltd (SPV), shareholder of Nami (the “Seller”), to
       acquire all of the outstanding ordinary shares of Nami. Nami is the parent company
       of a financial advisory services group comprising subsidiaries and a contractually
       controlled operating company in China.

       Pursuant to the Agreement, the Seller will receive aggregate consideration of RMB
       180 million (approximately $25.38 million) valued as of the date the Agreement
       was executed, consisting of RMB 50 million (approximately $7.05 million) in cash
       and 1,562,726 shares of the Company’s Class A common shares, par value $0.001
       per share, based on the weighted average closing price for the five trading days
       immediately prior to the execution of the Agreement.

       “We are pleased to announce that we have entered into a definitive share purchase
       agreement with Nami Holding (Cayman) Co., Ltd. and its owner for the strategic
       acquisition of Nami”, said Mr. Anyuan Sun, the CEO of Hebron Technology Co.
       Ltd., “this acquisition, once completed, will greatly enhance our financial advisory
       services capacities and signify that we have reached a milestone in implementing
       our strategic transition from a traditional industrial technology-based product and
       service provider to an innovative technology-driven and industry-based financial

                                    CLASS ACTION COMPLAINT
                                               5
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 7 of 21




       advisory services provider. We believe that Nami acquisition will further enhance
       our competitiveness in China’s financial services marketplace.”

       20.     The above statements identified in ¶¶ 17-19 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that many of Hebron’s

acquisitions, including Beijing Hengpu and Nami Holding (Cayman) Co., Ltd., involved

undisclosed related parties; (2) that the Company’s disclosure controls regarding related party

transactions was ineffective; and (3) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects, were materially misleading

and/or lacked a reasonable basis.

                           Disclosures at the End of the Class Period

       21.     On June 3, 2020, Siegfried Eggert, CEO of Grizzly Research, presented a report

alleging that Hebron is an “insider enrichment scheme without economic basis,” citing

questionable transactions including an undisclosed related party transaction for nearly $26 million.

An article describing the presentation reported:

       Liu became the company’s controlling shareholder in 2019 by paying $2 million
       for 7.78 million shares at a 70% discount to market price. The company also
       acquired Shanghai Fintech by acquiring NiSun International Enterprise
       Management Group from Liu for $7 million at the same time. Eggert describes the
       business as “sketchy” and “too good to be true.”

       He also found multiple pieces of evidence pointing to undisclosed related parties
       selling companies to Hebron Technology. For example, he describes the acquisition
       of undisclosed related party Beijing Hengpu as a “sham.” The deal was valued at
       more than $11 million. Now six months after the acquisition, ownership still hasn’t
       even transferred. Eggert also said Beijing Hengpu is a related party of Liu and
       Hebron.




                                    CLASS ACTION COMPLAINT
                                               6
          Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 8 of 21




       He also called attention to an undisclosed related party transaction involving Nami
       Holding Company for about $25.8 million in cash and stock last month. He
       describes Shanghai Nami as “an alter ego of Benefactum Beijing,” which is 99.99%
       owned by Liu. He also believes the company isn’t even viable.

       “At the end of the day, investors are left with a boring business and a bunch of
       worthless toxic companies, while Bodang Liu and insiders walk away with over
       $200M in value,” Eggert said.

       22.     On this news, the Company’s share price fell $8.26, or nearly 37%, to close at

$14.29 per share on June 3, 2020, on unusually heavy trading volume. The stock continued to

decline the next trading session by $2.51, or nearly 18%, to close at $11.78 per share on June 4,

2020, on unusually heavy trading volume.

                               CLASS ACTION ALLEGATIONS

       23.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased


                                    CLASS ACTION COMPLAINT
                                               7
          Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 9 of 21




or otherwise acquired Hebron securities between April 24, 2020 and June 3, 2020, inclusive, and

who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers

and directors of the Company, at all relevant times, members of their immediate families and their

legal representatives, heirs, successors, or assigns, and any entity in which Defendants have or had

a controlling interest.

        24.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Hebron’s common shares actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds

or thousands of members in the proposed Class. Millions of Hebron common stock were traded

publicly during the Class Period on the NASDAQ. Record owners and other members of the Class

may be identified from records maintained by Hebron or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        25.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        26.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        27.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)     whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)     whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Hebron; and

                                      CLASS ACTION COMPLAINT
                                                 8
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 10 of 21




               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       28.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                             UNDISCLOSED ADVERSE FACTS

       29.     The market for Hebron’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Hebron’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Hebron’s securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to Hebron, and have been damaged thereby.

       30.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Hebron’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Hebron’s business, operations, and prospects as alleged herein.

       31.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Hebron’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

                                   CLASS ACTION COMPLAINT
                                              9
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 11 of 21




Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       32.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       33.     During the Class Period, Plaintiff and the Class purchased Hebron’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       34.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Hebron, their control over, and/or

receipt and/or modification of Hebron’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Hebron, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       35.     The market for Hebron’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to


                                    CLASS ACTION COMPLAINT
                                               10
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 12 of 21




disclose, Hebron’s securities traded at artificially inflated prices during the Class Period. On June

1, 2020, the Company’s share price closed at a Class Period high of $23.33 per share. Plaintiff

and other members of the Class purchased or otherwise acquired the Company’s securities relying

upon the integrity of the market price of Hebron’s securities and market information relating to

Hebron and have been damaged thereby.

       36.     During the Class Period, the artificial inflation of Hebron’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Hebron’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Hebron and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       37.     At all relevant times, the market for Hebron’s securities was an efficient market for

the following reasons, among others:

               (a)     Hebron shares met the requirements for listing, and was listed and actively

traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, Hebron filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     Hebron regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or



                                    CLASS ACTION COMPLAINT
                                               11
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 13 of 21




               (d)     Hebron was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       38.     As a result of the foregoing, the market for Hebron’s securities promptly digested

current information regarding Hebron from all publicly available sources and reflected such

information in Hebron’s share price. Under these circumstances, all purchasers of Hebron’s

securities during the Class Period suffered similar injury through their purchase of Hebron’s

securities at artificially inflated prices and a presumption of reliance applies.

       39.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       40.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

                                     CLASS ACTION COMPLAINT
                                                12
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 14 of 21




In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of

Hebron who knew that the statement was false when made.

                                         FIRST CLAIM
                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        41.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        42.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Hebron’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        43.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Hebron’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        44.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Hebron’s financial


                                     CLASS ACTION COMPLAINT
                                                13
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 15 of 21




well-being and prospects, as specified herein.

       45.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Hebron’s value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Hebron and its business operations and future prospects in light

of the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       46.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       47.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Hebron’s financial well-being and prospects from the

                                    CLASS ACTION COMPLAINT
                                               14
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 16 of 21




investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       48.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Hebron’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired

Hebron’s securities during the Class Period at artificially high prices and were damaged thereby.

       49.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Hebron was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Hebron securities, or,

if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

       50.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

       51.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                     CLASS ACTION COMPLAINT
                                                15
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 17 of 21




                                        SECOND CLAIM
                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        52.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        53.     Individual Defendants acted as controlling persons of Hebron within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with the
SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the
Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

        54.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        55.     As set forth above, Hebron and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.




                                      CLASS ACTION COMPLAINT
                                                 16
         Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 18 of 21




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.


                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.


Dated: June 9, 2020                           By: s/ Gregory B. Linkh
                                              GLANCY PRONGAY & MURRAY LLP
                                              Gregory B. Linkh (GL-0477)
                                              230 Park Ave., Suite 530
                                              New York, NY 10169
                                              Telephone: (212) 682-5340
                                              Facsimile: (212) 884-0988
                                              Email: glinkh@glancylaw.com

                                              -and-

                                              Robert V. Prongay
                                              Charles H. Linehan
                                              Pavithra Rajesh
                                              1925 Century Park East, Suite 2100
                                              Los Angeles, CA 90067
                                              Telephone: (310) 201-9150
                                              Facsimile: (310) 201-9160
                                              Email: info@glancylaw.com




                                   CLASS ACTION COMPLAINT
                                              17
Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 19 of 21




                            THE LAW OFFICES OF FRANK R. CRUZ
                            Frank R. Cruz
                            1999 Avenue of the Stars, Suite 1100
                            Los Angeles, CA 90067
                            Telephone: (310) 914-5007

                            Attorneys for Plaintiff Michael Clynes




                    CLASS ACTION COMPLAINT
                               18
   Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 20 of 21



                   SWORN CERTIFICATION OF PLAINTIFF


       HEBRON TECHNOLOGY CO., LTD. SECURITIES LITIGATION


  I, Michael Clynes, certify that:

  1.     I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
         Plaintiff motion on my behalf.

  2.     I did not purchase the Hebron Technology Co., Ltd. securities that are the subject
         of this action at the direction of plaintiff’s counsel or in order to participate in any
         private action arising under this title.

  3.     I am willing to serve as a representative party on behalf of a class and will testify
         at deposition and trial, if necessary.

  4.     My transactions in Hebron Technology Co., Ltd. securities during the Class
         Period set forth in the Complaint are as follows:

         (See attached transactions)

  5.     I have not sought to serve, nor served, as a representative party on behalf of a
         class under this title during the last three years, except for the following:


  6.     I will not accept any payment for serving as a representative party, except to
         receive my pro rata share of any recovery or as ordered or approved by the court,
         including the award to a representative plaintiff of reasonable costs and expenses
         (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  6/8/2020
________________                         _________________________________________
      Date                                            Michael Clynes
Case 1:20-cv-04420-PAE Document 1 Filed 06/09/20 Page 21 of 21




    Michael Clynes's Transactions in Hebron Technology Co., Ltd.
                              (HEBT)
                             Account 1
      Date      Transaction Type       Quantity     Unit Price
      6/3/2020        Bought                 1,500     $19.8900

                              Account 2
       Date       Transaction Type     Quantity      Unit Price
       6/3/2020       Bought                   500      $17.7500
       6/3/2020       Bought                     3      $17.7500
       6/3/2020       Bought                   100      $16.2500
       6/3/2020       Bought                    20      $16.2500
       6/3/2020       Bought                   100      $16.2500
       6/3/2020       Bought                   110      $16.2500
       6/3/2020       Bought                   247      $16.0000
       6/3/2020       Bought                   169      $16.0000
       6/3/2020       Bought                    26      $16.0000
       6/3/2020       Bought                     3      $16.0000
       6/3/2020       Bought                    10      $16.0000
       6/3/2020       Bought                     2      $16.0000
       6/3/2020       Bought                    12      $16.0000
